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                                                                                     Account Number               From          Through                     Page           of
                                                              STATEMENT                      ######06           01-01-16       01-31-16                          1           1

                                                                                                                                                             Send inquiries to:
                                                                                                                                                           Service Credit Union
                                                                                                                                                                 P.O. Box 1653
                                                                                                                                                    Portsmouth, NH 03802-1653
                                                                                                                           1-800-936-7730 (U.S.) 00800-4728-2000 (International)




                                            BRYANT E SEWALL
                                            CMR 445 BOX 837
                                            APO AE 09046




 Transaction
Send all inquiries to theEffective
                          credit union at the address shown above.
     Date                Date              Transaction Description                                                                             AmountRETAIN THISBalance
                                                                                                                                                                FOR YOUR FILES


   SUFFIX:00 SHARE SAVINGS
                                           BEGINNING BALANCE                                                                                                           5.00
                                           ENDING BALANCE                                                                                            5.00




                                                                                                                                                                         *1005901*
                                ANNUAL PERCENTAGE YIELD                            0.0000%

   SUFFIX:09 SERVICE CHECKING
                                           BEGINNING BALANCE                                                                                                    19237.20
                                           ENDING BALANCE                                                                                    19237.20

                                ANNUAL PERCENTAGE YIELD                            0.0000%

                                                 ==============================================================
                                                 |                          |   TOTAL FOR    |     TOTAL      |
                                                 |                          |  THIS PERIOD   |  YEAR-TO-DATE  |
                                                 |============================================================|
                                                 | TOTAL OVERDRAFT FEES     |           .00  |           .00  |
                                                 |============================================================|
                                                 | TOTAL RETURNED ITEM FEES |           .00  |           .00  |
                                                 ==============================================================


          FOR 2016:
                                             *      IRA YTD                * OTHER YTD    * TOTAL YTD       *
                                                   DIVIDENDS                 DIVIDENDS      DIVIDENDS

                                                                     .00            .00               .00




                                                                                                                                                                                   0 0 0 2 / 0 0 5 8
                                                                                                                                                                                   * 1 0 0 5 9 0 1 *




 FEDERALLY INSURED BY NCUA
        Case 1:19-cv-02594-RM-SKC Document 187-3 Filed 11/16/20 USDC Colorado Page 2 of 8
                   THIS NOTICE IS APPLICABLE ONLY TO OPEN-END CREDIT, AS DENOTED ON THE FRONT OF THIS STATEMENT
IN CASE OF ERRORS OR INQUIRIES ABOUT YOUR STATEMENT
Send your inquiry in writing on a separate sheet of paper so that the Credit Union receives it within 60 days after the bill was mailed to you.
Your written inquiry must include:
    1. Your name and account number.
    2. A description of the error and why (to the extent you can explain) you believe it is an error; and
    3. The dollar amount of the suspected error.
If you authorized the Credit Union to automatically pay your loan from your share account, you can stop or reverse payment on any amount
you think is wrong by mailing your notice so that the Credit Union receives it within 16 days after the bill was sent to you.
You remain obligated to pay the parts of your bill not in dispute, but you do not have to pay any amount in dispute during the time the Credit
Union is resolving the dispute. During that same time, the Credit Union may not take any action to collect disputed amounts or report disputed
amounts as delinquent.
This is a summary of your rights, a full statement of your rights and the Credit Union's responsibilities under the Federal Fair Credit Billing Act
will be sent to you both upon request and in response to a billing error notice.
Non-Visa Debit Transactions
Service Credit Union enables non-Visa debit transaction processing and does not require that all such transactions be authenticated by a PIN.
Below are examples to distinguish between a Visa debit and non-Visa debit transaction:
    * To initiate a Visa debit transaction at the point of sale, the cardholder signs a receipt, provides a card number (e.g., in e-commerce or
       mail/telephone order environments) or swipes the card through a point-of-sale terminal.
    * To initiate a non-Visa debit transaction, the cardholder enters a PIN at the point-of-sale terminal or, for certain bill payment transactions,
       provides the account number for an e-commerce or mail/telephone order transaction.
The non-Visa debit transaction processed through a non-Visa debit network (NYCE, Co-Op, Accel/Exchange, or AFFN) will not provide the
zero liability protection benefit, provisional credit policies of Visa, and Visa chargeback and dispute resolution procedures. Provisions of the
cardholder agreement relating only to Visa transactions are inapplicable to non-Visa transactions.
IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
Telephone or write us as soon as you can, if you think your statement is wrong or if you need more information about a transfer on the statement.
We must hear from you no later than 60 days after we sent you the first statement on which the error or problem appeared.
    1. Tell us your name and account number.
    2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why
       you need more information.
    3. Tell us the dollar amount of the suspected error.
We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will recredit your
account for the amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.
If you have arranged to have direct deposits made by Electronic Funds Transfer to your account at least once every 60 days from the same
person or company, you can call us during normal business hours to find out whether or not the deposit is made. Normally this will apply to
members on direct deposit of Social Security or pension checks or allocations between different member's accounts, where the payor has not
provided positive notice to you that the transfer was initiated.


The FINANCE CHARGE is computed on the unpaid balance for each day since your last payment and is multiplied by the applicable daily
periodic rate. The balance used to compute the FINANCE CHARGE is the unpaid balance each day after payments and credits to that balance
have been subtracted and new advances have been added.

 DRAFTS OUTSTANDING --- NOT CHARGED TO ACCOUNT                                                THIS FORM IS PROVIDED TO HELP YOU
                                                                                             BALANCE YOUR SHARE DRAFT ACCOUNT
Draft Number       Amount           Draft Number       Amount           Ending balance shown                       Enter balance shown
                                                                        on this statement           $              on share draft register      $




                                                                                                                                                     *0059*
                                                                        ADD:                                       ADD:
                                                                        Deposits not credited                      Deposits on this
                                                                        on this statement (if any) + $             statement not               +$
                                                                                                                   entered in register

                                                                                                  +$                                           +$



                                                                                                  +$               Dividends                   +$



                                                                        Subtotal                    $              Subtotal                     $


                                                                        SUBTRACT:

                                                                        Drafts Outstanding        - $              Service Fees (if any)       - $


                                                                                                                   Transfers to other          - $
                                                                                                                   accounts not
                                                                                                                   entered in register         - $
                                                                                                                                                        * 0 0 5 9 *




                                                                                                                                               - $


                                                                        BALANCE                     $              BALANCE                      $
                                   TOTAL           $
                                                                                                                   These totals should agree
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                                                                                                                     11

          ACCOUNT NUMBER                                                  ACCOUNT TYPE                                              STATEMENT PERIOD

           01846-4521-2                                         USAA SECURE CHECKING                                              1 2 / 1 1 / 1 5 - 01/11/16

                               NO OF                                                        TOTAL AMOUNT                  SERVICE             BALANCE THIS
          BALANCE              DEBITS          TOTAL AMOUNT                 NO. OF
       LAST STATEMENT           PAID          OF DEBITS PAID                 DEP          OF DEPOSITS MADE                CHARGES               STATEMENT
            1,148.48                 63                  5,536.10                   7               15,578.18                    .00                     11,190.56
              Please examine immediately and report if incorrect. If no report is received within 60 days, the account will be considered correct.


                                                                                 TOTAL                                                 TOTAL
                                                                        NONSUFFICIENT FUNDS (NSF)                                  OVERDRAFT (OD)
                                                                                  FEES                                                  FEES
                   THIS STATEMENT                                                                             0.00                                          0.00
              THIS YEAR'S STATEMENTS                                                                          0.00                                          0.00
              Note: Fee reversals/refunds made by USAA will not reduce the totals on this chart.


        EFFECTIVE MARCH 1, 2016, TRANSACTIONS AT ATMS LOCATED
        OUTSIDE OF THE UNITED STATES MAY NOT BE ELIGIBLE FOR ATM
        USAGE FEE REFUNDS. SEE FEE SCHEDULE ON USAA.COM




         DEPOSITS AND OTHER CREDITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     12/14       4,300.00 ACH CREDIT              121415
                          PAYPAL            TRANSFER    ***********J3Y6
     12/22       6,218.00 WIRE IN
                          001151222818697
     12/30       2,500.00 ACH CREDIT              123015
                          NFCU ACH          P2P         JESUS E FERRAS
     12/31          54.11 DEBIT CARD REFUND       123015
                          FRY'S ELECTRONI            PLANO        TX
     01/08       2,500.00 ACH CREDIT              010816
                          NFCU ACH          P2P         JESUS E FERRAS
     01/11           6.00 ATM SURCHARGE REBATE
     01/11           0.07 INTEREST PAID

         OTHER DEBITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     12/14          96.04 POS DEBIT               121415
                          HOB-LOB #97900A W. 15th SPLANO         TX
     12/14         148.81 DEBIT CARD PURCHASE     121115
                          MASH'D                    FRISCO       TX
     12/14         112.39 ACH DEBIT               121415
                          USAA.COM PAY INT P&C         ***********7732
     12/16          12.54 DEBIT CARD PURCHASE     121515
                          BRAUMS #119               PLANO        TX

                                                                                                                                                              93526-0814_05
                                                                                                                                                                     BM1FRT
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                                                USAA FEDERAL SAVINGS BANK
                                                            10750 McDermott Freeway
                                                           San Antonio, TX 78288-0544
                                                                  800-531-8722


PLEASE EXAMINE THIS STATEMENT AT ONCE. IF NO ERROR IS REPORTED IN 60 DAYS, THIS STATEMENT WILL BE CONSIDERED
CORRECT. ALL ITEMS ARE CREDITED SUBJECT TO PAYMENT.

In Case of Errors or Questions About Your Electronic Transfers, Telephone us or Write us at the address and number
listed at the top of this page as soon as you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear from you no later than 60 days after we
sent you the FIRST statement on which the error or problem appeared.
               .    Tell us your name and account number (if any).
               .    Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe
                    it is an error or why you need more information.
               .    Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will
credit your account for the amount you think is in error, so that you will have the use of the money during the time it takes us to
complete our investigation.


             THIS FORM IS PROVIDED TO HELP YOU RECONCILE THIS STATEMENT BALANCE TO YOUR CHECKBOOK BALANCE.


    CHECKS OUTSTANDING
  (Those written which have not                                                            BANK BALANCE
   been charged to your account)

    CHECK#               AMOUNT                                (1) BALANCE THIS STATEMENT
                                                                   (SHOWN ON FRONT PAGE)                        $


                                                               (2) ADD DEPOSITS NOT SHOWN ON
                                                                   THIS STATEMENT (IF ANY)                      +


                                                               (3) SUBTOTAL                                     $


                                                               (4) SUBTRACT TOTAL OF CHECKS                     -
                                                                   OUTSTANDING (IF ANY)

                                                               (5) ADJUSTED BANK BALANCE                        $




                                                                                           YOUR BALANCE


                                                               (6) CHECK REGISTER BALANCE
                                                                                                                $

                                                               (7) ADD CREDITS WHICH APPEAR
                                                                   ON THIS STATEMENT THAT HAVE
                                                                  NOT BEEN RECORDED IN YOUR                     +                     *
                                                                  REGISTER (IF ANY)

                                                               (8) ADD INTEREST CREDITED TO                     +                     *
                                                                   YOUR ACCOUNT (IF ANY)


                                                               (9) SUBTRACT OTHER CHARGES                       -                     *
                                                                   (IF ANY)

                                                              (10) ADJUSTED CHECK REGISTER                  $
   TOTAL             $                                             BALANCE
                                                                    * Be sure to record in your check register.


                              Line 5 and Line 10 should now agree. If not, check the following items in your register:

                                                       -Are all deposits accounted for?
                                                     -Are all amounts entered correctly?
                                                -Are all automatic transactions accounted for?
                                                   -Are all additions and subtractions accurate?

          TERMS AND CONDITIONS: All transactions are subject to the USAA Federal Savings Bank Depository Agreement.
                                                                                                                                          126405-0714
                                                                                                                                             BM1BCK
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          ACCOUNT NUMBER                ACCOUNT TYPE                    STATEMENT PERIOD

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         OTHER DEBITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     12/17            4.95 DEBIT CARD PURCHASE    121615
                           EXPERIAN    *CR          866-5827269    CA
     12/17          19.95 DEBIT CARD PURCHASE     121715
                           EQUIFAX CONSUME          866-640-2273   GA
     12/18            1.00 DEBIT CARD PURCHASE    121715
                           TU *TRANSUNION           855-468-1378   CA
     12/18            9.40 DEBIT CARD PURCHASE    121615
                           WHATABURGER 743          PLANO          TX
     12/18          39.00 DEBIT CARD PURCHASE     121815
                           USTVNOW-NATIONP          917-746-8788   NY
     12/21          16.35 DEBIT CARD PURCHASE     121815
                           PANDA EXPRESS #          PLANO          TX
     12/21          19.50 DEBIT CARD PURCHASE     121915
                           CINEMARK THEATR          PLANO          TX
     12/21          24.62 DEBIT CARD PURCHASE     122015
                           DICKEY'S BARBEC          972-641-8500   TX
     12/21          25.00 POS DEBIT               122115
                           QUIKTRIP                 MESA           AZ
     12/21          27.10 DEBIT CARD PURCHASE     121915
                           REPUBLIC WIRELE          800-808-5150   NC
     12/21          53.19 DEBIT CARD PURCHASE     121915
                           MI COCINAS WC 0          ALLEN          TX
     12/21         120.98 DEBIT CARD PURCHASE     121915
                           HOTELS.COM12666          HOTELS.COM     WA
     12/21         141.60 DEBIT CARD PURCHASE     121915
                           DELTA                    DELTA.COM      CA
     12/21         314.39 POS DEBIT               122115
                           AutoZone 4450 E BASEL    MESA           AZ
     12/22          10.33 POS DEBIT               122115
                           CIRCLE K 033723077 S VAL GILBERT        AZ
     12/22          75.57 DEBIT CARD PURCHASE     122115
                           AAA TAXI 0314            PHOENIX        AZ
     12/22         110.71 POS DEBIT               122215
                           JIFFY LUBE #17293345 E BAGILBERT        AZ
     12/23            6.06 POS DEBIT              122315
                           QUIKTRIP3720 S VAL VISTA GILBERT        AZ
     12/23            8.10 DEBIT CARD PURCHASE    122215
                           CHIPOTLE 1710            MESA           AZ
                                                                                          105846-0814_06
                                                                                                  BMFR1A
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         ACCOUNT NUMBER                ACCOUNT TYPE               STATEMENT PERIOD

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        OTHER DEBITS
    DATE..........AMOUNT.TRANSACTION DESCRIPTION
    12/23            8.62 DEBIT CARD PURCHASE    122115
                          JIMMY JOHNS - 2          GILBERT      AZ
    12/23          20.00 POS DEBIT               122315
                          SHELL Service S          TUCSON       AZ
    12/23          59.37 DEBIT CARD PURCHASE     122315
                          HOTELS.COM12671          HOTELS.COM   WA
    12/24            4.80 DEBIT CARD PURCHASE    122215
                          GOOGLE * UBER T          855-492-5538 CA
    12/24            7.88 POS DEBIT              122315
                          SHELL Service S          CISCO        TX
    12/24          10.89 DEBIT CARD PURCHASE     122215
                          GOOGLE * UBER T          855-492-5538 CA
    12/24          28.50 POS DEBIT               122315
                          SHELL Service S          CISCO        TX
    12/24          33.00 DEBIT CARD PURCHASE     122315
                          PILOT          0         VAN HORN     TX
    12/28            2.84 POS DEBIT              122815
                          USPS 4871130013905 HEDGCOPLANO        TX
    12/28          12.39 DEBIT CARD PURCHASE     122715
                          PANDA EXPRESS #          PLANO        TX
    12/28          23.79 DEBIT CARD PURCHASE     122615
                          BOSTON MARKET 0          PLANO        TX
    12/28          29.95 DEBIT CARD PURCHASE     122415
                          TU *TRANSUNION           855-468-1378 CA
    12/28          76.20 DEBIT CARD PURCHASE     122415
                          TAVERNA ROSSA            PLANO        TX
    12/28         412.11 POS DEBIT               122815
                          FRY'S ELECTRON           PLANO        TX
    12/28         503.00 ATM DB NONLOCAL         122815
                          8000 INDEPENDENCE PKWY   PLANO        TX
    12/29          33.30 ACH DEBIT               122915
                          W8TECH.COM       IAT PAYPAL ***********GFYC
    12/30          22.49 DEBIT CARD PURCHASE     122815
                          CHICK-FIL-A #            PLANO        TX
    12/31          49.78 DEBIT CARD PURCHASE     123015
                          FRY'S ELECTRONI          PLANO        TX
    12/31          50.71 DEBIT CARD PURCHASE     123015
                          TGI FRIDAYS 626          PLANO        TX
                                                                                       105846-0814_06
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          ACCOUNT NUMBER                ACCOUNT TYPE               STATEMENT PERIOD

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         OTHER DEBITS
     DATE..........AMOUNT.TRANSACTION DESCRIPTION
     01/04          47.46 DEBIT CARD PURCHASE     123115
                           ABUELOS PLANO            PLANO        TX
     01/04         121.50 POS DEBIT               010316
                           PET SUPPLIES PLUS #700410PLANO        TX
     01/05          12.90 DEBIT CARD PURCHASE     010416
                           AMAZON MKTPLACE          AMZN.COM/BILLWA
     01/05          77.54 DEBIT CARD PURCHASE     010516
                           COX*PHOENIX COM          602-277-1000 AZ
     01/06          20.31 POS DEBIT               010616
                           USPS 4871130013905 HEDGCOPLANO        TX
     01/06          25.00 POS DEBIT               010616
                           KROGER7104 INDEPENCE     PLANO        TX
     01/06          25.82 DEBIT CARD PURCHASE     010516
                           TXDMV TEMP PERM          AUSTIN       TX
     01/06         103.00 ATM DB NONLOCAL         010616
                           8000 INDEPENDENCE PKWY   PLANO        TX
     01/06         113.96 DEBIT CARD PURCHASE     010416
                           SOUTHWES                 800-435-9792 TX
     01/06         225.90 DEBIT CARD PURCHASE     010416
                           BAHAMASA                 NASSAU       BHS
     01/06       1,327.97 ACH DEBIT               010616
                           Nationstar       Nationstar ***********2259
     01/07            7.18 POS DEBIT              010716
                           KROGER7100 INDEPENDENCY PLANO         TX
     01/07            9.73 POS DEBIT              010716
                           SPEC'S LIQUORS #1515930 WPLANO        TX
     01/07          18.38 DEBIT CARD PURCHASE     010616
                           BOSTON MARKET 0          PLANO        TX
     01/08          54.76 DEBIT CARD PURCHASE     010716
                           SAMUI THAI CUIS          PLANO        TX
     01/08         134.47 DEBIT CARD PURCHASE     010716
                           HOTELS.COM12699          HOTELS.COM   WA
     01/11            1.27 POS DEBIT              011116
                           WALGREENS4130 LEGACY DR PLANO         TX
     01/11            5.81 DEBIT CARD PURCHASE    011016
                           JACK IN THE BOX          PLANO        TX
     01/11          65.75 DEBIT CARD PURCHASE     010816
                           TAVERNA ROSSA            PLANO        TX
                                                                                        105846-0814_06
                                                                                                BMFR1A
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         ACCOUNT NUMBER                ACCOUNT TYPE                    STATEMENT PERIOD

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        OTHER DEBITS
    DATE..........AMOUNT.TRANSACTION DESCRIPTION
    01/11         174.65 DEBIT CARD PURCHASE     010716
                         SW VAL VISTA LA           04809264868    AZ
    01/11         175.54 DEBIT CARD PURCHASE     010716
                         SW VAL VISTA LA           04809264868    AZ

         FOREIGN TRANSACTION FEES INCURRED THIS CYCLE            2.24

     ACCOUNT BALANCE SUMMARY
          DATE..........BALANCE   DATE..........BALANCE
          12/11        1,148.48   12/29        9,002.26
          12/14        5,091.24   12/30       11,479.77
          12/16        5,078.70   12/31       11,433.39
          12/17        5,053.80   01/04       11,264.43
          12/18        5,004.40   01/05       11,173.99
          12/21        4,261.67   01/06        9,332.03
          12/22       10,283.06   01/07        9,296.74
          12/23       10,180.91   01/08       11,607.51
          12/24       10,095.84   01/11       11,190.56
          12/28        9,035.56




      * * * * * * * *   INTEREST PAID INFORMATION   * * * * * * * *
      YOUR INTEREST PAID WAS CALCULATED USING YOUR DAILY BALANCE FOR
     31 DAYS FOR AN ANNUAL PERCENTAGE YIELD EARNED OF 0.01%. THIS
      BRINGS YOUR YTD INTEREST PAID TO        0.07.




                                                                                         105846-0814_06
                                                                                                 BMFR1A
